Case 09-25593-jpk Doc 4
B1 (Official Form 1){1/08)

Filed 12/31/09 Page 1of9
Page 3

 

Voluntary Petition

(This page must be completed and filed in every case)

Name of Debtor(s):
Vo, Tin T.

Vo, Lynn T.

 

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided im (his
petition is true and correct.

{If petitioner is an individual whose debts are primarily consumer debts and
has chosen to file under chapter 7] } am aware that I may proceed under
chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
available under each such chapter, and choose to procced under chapter 7.
[If no attorney represents me and no bankruptcy petition preparer signs the
petition} I have obtained and read the notice required by 11 U.S.C. §342(b).

T request relief in accordance with the chapter of title 11, United States Code,
specified in this petition.

<I &.

x

 

 

Signaturefop Debt inT.Vo /
XWAFenLts)
Sigotture of folhtDebtoMey¥nn T. Vo

 

Telephone Number (if not represented by attorney)

12.|3 |]8009

Date /

Signatures

Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition
is true and correct, that [ am the foreign representative of a debtor in a foreign
proceeding, and that I am authorized to file this petition.

(Check only one box.)

0 | request relief in accordance with chapter 15 of title 11. United States Code.
Certified copies of the documents required by 11 U.S.C, $1515 are attached.

[1 Pursuant to 11 U.S.C, §1511, | request relief in accordance with the chapter
of title 11 specified in this petition. A certified copy of the order granting
recognition of the foreign main proceeding is attached.

xX

 

Signature of Foreign Representative

 

Printed Name of Foreign Representative

 

Dale

 

 

Signature of Attorney*

X

 

Signature of Attomey for Debtor(s)

Alan D. Naggatz 17479-64
Printed Name of Attorney for Debtor(s)

Law Office of Alan D. Naqgatz

Firm Name

175 W. Lincolnway Suite |
Valparaiso, IN 46383

 

 

Address

Email: naggatzlaw@aol.com
{219) 476-7222 Fax: (219) 476-7021

Telephone Number

 

Date

*In a case in which § 707(b}(4}(D) applies, this signature also constitutes a
certification that the attorney has no knowledge after an inquiry that the
information in the schedules is incorrect.

 

Signature of Debter (Corporation/FPartnership)

I declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this pctition
on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11, United
States Code, specified in this petition,

Xx

 

Signature of Authorized Individual

 

Printed Name of Authorized Individual

 

Title of Authorized Individual

 

Date

 

Signature of Non-Attorney Bankruptcy Petition Preparer

I declare under penalty of perjury that: (1) lam a bankruptcy petition
preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document
and the notices and information required under 11 U.S.C. §§ 110(b),
110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
pursuant to 11 U.S.C, § 110(h) setting a maximum fee for services
chargeable by bankruptcy petition preparers, | have given the debtor notice
of the maximum amount before preparing any document for filing for a
debtor or accepting any fee from the debtor, as required in that section.
Official Form 19 is attached.

 

Printed Name and title, if any, of Bankruptcy Petition Preparer

 

Social-Security number (If the bankrutpcy petition preparer is not
an individual, state he Social Security number of the officer,
principal, responsible person or partner of the bankruptcy petition
preparer. (Required by 11 U.S.C. § 110.)

 

Address

 

 

Date

Signature of Bankruptcy Petition Preparer or officer, principal, responsible
person,or partner whose Social Security number is provided above.

Names and Social-Security numbers of all other individuals who prepared or
assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:

If more than one person prepared this document, attach additional sheets
conforming to the appropriate official form for each person.

A bankruptcy petition preparers failure to comply with the provisions of
title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. $156.

 

 

 
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B 1D(Official Form 1, Exhibit D) (12/08) - Cont.

0 4. I am not required to receive a credit counseling briefing because of: {Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]

O Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
mental deficiency so as to be incapable of realizing and making rational decisions with respect to
financial responsibilities.);

O Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
through the Internet.);

O Active military duty in a military combat zone.

O 5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

I certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: <f e
Tin-T. Vo ?
Date: Jol 4] | 9

 

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B 1D(Official Form 1, Exhibit D) (12/08) - Cont.

O 4. lam not required to receive a credit counseling briefing because of: [Check the applicable
statement.}] [Must be accompanied by a motion for determination by the court.]

O Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
mental deficiency so as to be incapable of realizing and making rational decisions with respect to
financial responsibilities.);

O Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
through the Internet.);

QO Active military duty in a military combat zone.

O15. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

   
 

I certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor:

Date: 12131/09

 

 

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B6 Declaration (Official Form 6 - Declaration). (12/07)

United States Bankruptcy Court

Northern District of Indiana

Tin T. Vo
Inre Lynn T. Vo Case No.

 

 

Debtor(s) Chapter 7

 

DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of a q Ww

 

 

 

 

sheets, and that they are true and correct to the best of my knowledge, information, and belicf. by
Date | 2 3) | 0 d Signature aL
Ti T..
Ber)
Date | a | 3 / | OF Signature LAWN
Lyffi'T.Vo

Joint Debtor

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §8 152 and 3571.

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B7 (Official Form 7) (12/07)

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

1 declare under penalty of perjury that I have tead the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.

vue 19-131]2009 Siena BS:

(pain
(pain

i2| 3! hoo 7 Signature APU 4

hin ie vo

Date

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. $9 152 and 3571

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BS (Form 8) (12/08). ‘
United States Bankruptcy Court

Northern District of Indiana

Tin T. Vo
Inte LynnT. Vo Case No.

 

 

Debtor(s) Chapter 7

 

CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.

Date l 2/3 i]09 Signature aE .
A
Date o-| 3 / O 9 Signature cD L A

tyne v7

Joint Debtor

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over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code. ~

2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations, most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, cither
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both, All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
asscis, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.

Certificate of Attorney
I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

Alan D. Naggatz 17479-64 x

Printed Name of Attorney Signature of Attorney Date
Address:

175 W. Lincolnway Suite |
Valparaiso, IN 46383

(219) 476-7222

naggatzlaw@aocl.com

 

 

Certificate of Debtor
I (We), the debtor(s), affirm that I (we) have received and read this notice.

TT Ve «ADE SJ /3)/2009

Printed Name(s) of Debtor(s) —* Debtor /

ate
Case No. (if known) . | a 3 | } 200 9
CSoneoyens Debtor (if any) Date

 

 

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United States Bankruptcy Court

Northern District of Indiana

Tin T. Vo
In re Lynn T. Vo Case No,

 

Debtor(s} Chapter 7

 

VERIFICATION OF CREDITOR MATRIX

The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.

na: 1131/2009 : eee
Date: jo-]3))200 9 Sighatuté ee a

Lyon 7/00" pF o™
Signature of Debtor

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Case 09-25593-jpk Doc4 Filed 12/31/09 Page 9of9

B22A (Official Form 22A) (Chapter 7) (12/08)

In te

Case Number:

Tin T. Vo
Lynn T. Vo According to the information required to be entered on this statement

 

Debtor(s) {check one box as directed in Part I, IU, or VI of this statement):

 

C The presumption arises.
(If known}

@ The presumption does not arise.

O The presumption is temporarily inapplicable.

 

 

 

CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
AND MEANS-TEST CALCULATION

 

Part VIII. VERIFICATION

 

37

 

 

I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors

must sign.) Date: 12] 3 )} OO 9 Signature: at

Tin T.

 

 

(Debior)

Date: }2/ 31/2009

Signature

 

. Vo
(fount Debtor, if any)

 

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